                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                                               )
MARGARET M. BELANGER and                       )
JAMES J. BELANGER,                             )    Civil Action No. 1:15-cv-14236-MLW
                                               )
       Plaintiffs,                             )
                                               )   STIPULATION OF DISMISSAL AS TO
      v.                                       )    DEFENDANT DIGITAL FEDERAL
                                               )           CREDIT UNION
EXPERIAN INFORMATION                           )
SOLUTIONS, INC., et al.,                       )
                                               )
       Defendants.                             )
                                               )


       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,

Plaintiffs Margaret M. and James. J. Belanger and Defendant Digital Federal Credit Union, by

and through their undersigned counsel, respectfully stipulate and agree to dismiss this matter

with prejudice against the Defendant Digital Federal Credit Union only, with each party to bear

its own attorney’s fees, costs and expenses.

/s/ Danielle M. Spang                               /s/ Clifford P. Gallant
Danielle M. Spang (BBO #684365)                     Clifford P. Gallant, Jr. (BBO #543699)
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Counsel for Plaintiffs Margaret M. Belanger         Counsel for Defendant Digital Federal
and James J. Belanger                               Credit Union


Dated: April 29, 2016
                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants on April 29, 2016.


                                                     /s/ Danielle M. Spang
                                                     Danielle M. Spang




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